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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


RALPH BIRDSONG,

                       Pet itioner,                   CIVIL ACTION NO. I I-CV-4240

               V.

JOTIN £. WETZEL, ct al.,

                       Respondents.


                                             ORDER

        AND NOW, this       :j/11--- day of A/J>J/",.tl.                . 2~upon consideration of
Petitioner's Petition for a ~ Habeas Corpus by a isoner in State Custody (Doc. 9), the
parties' Stipulation (Doc. 99), and the full record in this case, it is ORDERED as fo llows :

I. The pa11ies' Stipulation is ACCEPTED by the Court;

2. Petitioner' s Petition for a Writ of Habeas Corpus is GRANTED as to Claim V. The Court
finds that Petitioner was deprived o r the effective assistance of counsel at the sentencing phase of
trial, based on counsel's fa ilure to investigate and present ava ilable mitigating evidence:

3. Because the writ is granted as to Claim V, Petitioner's other claims regarding his death sentence
are moot and will not be further considered by the Court;

4. Upon completion of review of Petitioner's claims challenging hi s convictions, th is Order wil l
be incorporated into the Cou1t's fi nal order with respect to these habeas proceedings.

IT IS SO ORDERED.
